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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )   Chapter 11
                                                              )
MALLINCKRODT PLC, et al.,                                     )   Case No. 20-12522 (JTD)
                                                              )
                   Debtors.1                                  )   (Jointly Administered)
                                                              )
                                                              )   Obj. Deadline: Feb. 17, 2021 at 4:00 p.m. (ET)
                                                              )

                                  NOTICE OF FEE APPLICATION


                   PLEASE TAKE NOTICE that Katten Muchin Rosenman LLP (the “Applicant”)

has today filed the attached Third Monthly Fee Statement of Katten Muchin Rosenman LLP as

Counsel to the Specialty Generics Debtors, at the Sole Direction of the Disinterested Managers,

for Compensation for Services Rendered and Reimbursement of Expenses for the Period of

December 1, 2020 through December 31, 2020 (the “Application”) with the United States

Bankruptcy Court for the District of Delaware (the “Court”).

                   PLEASE TAKE FURTHER NOTICE that objections to the Application, if any,

must be made in accordance with the Order Establishing Procedures for Interim Compensation

and Reimbursement of Professionals, dated December 9, 2020 [Docket No. 770] (the “Interim

Compensation Order”) and must be filed with the Clerk of the Court, 824 North Market Street,

3rd Floor, Wilmington, Delaware 19801 no later than 4:00 p.m. (prevailing Eastern Time) on

February 17, 2021 (the “Objection Deadline”) and served upon and received by:

(i) Mallinckrodt plc, 675 McDonnell Blvd., Hazelwood, Missouri 63042 (Attn: Stephanie D.


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    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The debtors’ mailing address is 675
    McDonnell Blvd., St. Louis, Missouri 63042.



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Miller (corporate.secretary@mnk.com); (ii) counsel to the Debtors, (a) Latham & Watkins LLP,

885 Third Avenue, New York, New York 10022 (Attn: George Davis (George.Davis@lw.com),

George Klidonas (George.Klidonas@lw.com), Anupama Yerramalli (Anu.Yerramalli@lw.com),

and Andrew Sorkin (Andrew.Sorkin@lw.com)), Latham & Watkins LLP, 355 South Grand

Avenue, Suite 100, Los Angeles, California 90071 (Attn: Jeffrey Bjork (Jeff.Bjork@lw.com)),

and 330 North Wabash Avenue, Suite 2800, Chicago, Illinois 60611 (Attn: Jason Gott

(Jason.Gott@lw.com)) and (b) Richards, Layton & Finger, P.A., One Rodney Square, 920 North

King Street, Wilmington, Delaware 19801 (Attn: Mark D. Collins (collins@rlf.com) and

Michael J. Merchant (merchant@rlf.com)); (iii) counsel for the ad hoc group of holders of the

Debtors’ unsecured notes, (a) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of

the    Americas,      New      York,   New   York       10019   (Attn:     Andrew    N.     Rosenberg

(arosenberg@paulweiss.com), Alice Belisle Eaton (aeaton@paulweiss.com), Claudia R. Tobler

(ctobler@paulweiss.com), and Neal Paul Donnelly (ndonnelly@paulweiss.com)) and (b) Landis

Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington, Delaware 19801 (Attn: Richard

S. Cobb (cobb@lrclaw.com)); (iv) counsel to the ad hoc committee of governmental entities

holding opioid claims, (a) Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas,

New York, New York 10036 (Attn: Daniel M. Eggermann (deggermann@kramerlevin.com) and

Megan Wasson (mwasson@kramerlevin.com)) and (b) Morris James LLP, 500 Delaware

Avenue,       Suite    1500,     Wilmington,   Delaware         19801    (Attn:   Jeffrey    Waxman

(jwaxman@morrisjames.com)); (v) counsel to the administrative agent under the Debtors’

existing credit agreement, (a) White & Case LLP, 1221 Avenue of the Americas, New York,

New York 10020 (Attn: Michele J. Meises (michele.meises@whitecase.com)) and (b) Fox

Rothschild LLP, 919 N. Market St., Suite 300, P.O. Box 2323, Wilmington, Delaware 19899



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(Attn: Jeffrey M. Schlerf (jschlerf@foxrothschild.com)); (vi) proposed counsel to the FCR,

Young Conaway Stargatt & Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801

(Attn: James L. Patton, Jr. (jpatton@ycst.com)); (vii) counsel to the official committee of

unsecured creditors (a) Cooley LLP, 55 Hudson Yards, New York, New York 10001 (Attn:

Cathy Hershcopf (chershcopf@cooley.com)), Cooley LLP, 1299 Pennsylvania Avenue, NW,

Suite 700, Washington, D.C. 20004 (Attn: Cullen D. Speckhart (cspeckhart@cooley.com)), and

(b) Robinson & Cole LLP, 1201 N. Market Street, Suite 1406, Wilmington, Delaware 19801

(Attn: Natalie D. Ramsey (nramsey@rc.com) and Jamie L. Edmonson (jedmonson@rc.com));

(viii) proposed counsel to the official committee of opioid claimants (a) Akin Gump Strauss

Hauer & Feld LLP, One Bryant Park, New York, New York 10036 (Attn: Arik Preis

(apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com) and Sara L. Brauner

(sbrauner@akingump.com)), and (b) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,

Wilmington, Delaware 19801 (Attn: Justin R. Alberto (jalberto@coleschotz.com) and Seth Van

Aalten (svanaalten@coleschotz.com)); (ix) the United States Trustee for the District of

Delaware, 844 King Street, Suite 2207, Wilmington, Delaware 19801 (Attn: Jane M. Leamy

(Jane.M.Leamy@usdoj.gov)) and (x) Direct Fee Review, LLC, 1000 N. West Street, Suite 1200,

Wilmington, Delaware 19801 (Attn: Don F. Oliver (dfr.dfo@gmail.com)).

                   PLEASE TAKE FURTHER NOTICE that if no objections to the Application are

filed prior to the Objection Deadline, the Applicant may file a certificate of no objection with the

Bankruptcy Court, after which the Debtors shall be authorized by the Interim Compensation

Order to pay the Applicant an amount equal to 80% of the fees and 100% of the expenses

requested in its Application without the need for further order of the Bankruptcy Court.




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                   PLEASE TAKE FURTHER NOTICE that if an objection to the Application is

filed prior to the Objection Deadline, the Debtors shall be authorized by the Interim

Compensation Order to pay the Applicant 80% of the fees and 100% of the expenses requested

in the Application not subject to such objection without the need for further order of the

Bankruptcy Court.

Dated: January 28, 2021

/s/ Amanda R. Steele
RICHARDS, LAYTON & FINGER, P.A.                     George A. Davis (pro hac vice)
Mark D. Collins (No. 2981)                          George Klidonas (pro hac vice)
Michael J. Merchant (No. 3854)                      Andrew Sorkin (pro hac vice)
Amanda R. Steele (No. 5530)                         Anupama Yerramalli (pro hac vice)
Brendan J. Schlauch (No. 6115)                      LATHAM & WATKINS LLP
Garrett S. Eggen (No. 6655)                         885 Third Avenue
One Rodney Square                                   New York, New York 10022
920 N. King Street                                  Telephone: (212) 906-1200
Wilmington, Delaware 19801                          Facsimile:    (212) 751-4864
Telephone:     (302) 651-7700                       Email:        george.davis@lw.com
Facsimile:     (302) 651-7701                              george.klidonas@lw.com
Email:         collins@rlf.com                             andrew.sorkin@lw.com
               merchant@rlf.com                            anu.yerramalli@lw.com
               steele@rlf.com
               schlauch@rlf.com                     - and -
               eggen@rlf.com                        Jeffrey E. Bjork (pro hac vice)
                                                    LATHAM & WATKINS LLP
- and -                                             355 South Grand Avenue, Suite 100
                                                    Los Angeles, California 90071
                                                    Telephone:     (213) 485-1234
                                                    Facsimile:     (213) 891-8763
                                                    Email:         jeff.bjork@lw.com
                                                    - and -
                                                    Jason B. Gott (pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    330 North Wabash Avenue, Suite 2800
                                                    Chicago, Illinois 60611
                                                    Telephone: (312) 876-7700
                                                    Facsimile:     (312) 993-9767
                                                    Email:         jason.gott@lw.com

                          Counsel for Debtors and Debtors in Possession


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